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                              IN THE LTNITED STATES DISTRICT COURT                               irll 04 2013
                             FOR THE NORTHERN DISTRICT OF ILLINOIS                                u\*q - ro     sB
                                        EASTERN DIVISION
                                                                                            JUOGE JOHN Z. LEE
                                                                                         UNITED STATES DISTHICT COURT

IINITED STATES OF AMERICA
                                                       No. 17 CR 226
                v.
                                                       Honorable John Z. Lee
DINIKA LAWRENCE


                                          PLEA DECLARATION

        The defendant, DINIKA LAWRENCE, after extensive consultation with her attorney,

SERGIO F. RODRIGUEZ, acknowledges and states the following:

        l.      She has been charged         in a three-count indictrnent. Counts One and Two          each

charge the defendant with bank robbery, and Count Three charges her with attempted bank

robbery, all in violation    ofTitle   18, United States Code, Section 2113(a).

        2.      She has read the charges contained in the indictrnent, and those charges have been

fully explained to her by her attomey.

        3.      She   fully understands the nature and elernents of the crimes with which she has

been charged.

        4.      She   will   enter a voluntary plea of guilty to all   ofthe Counts contained in the

indichnent.
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Factual Basis

         5.      She    will   plead guilty because she is in fact guilty   ofthe charges contained in the

indictment. In pleading guilty, Ms. Lawtence acknowledges the following facts to be true:

                 a.        With respect to Count One of the indictment:

         On or about June 23, 2016, at Riverdale, in the Northern District of Illinois, Eastern

Division, DINIKA LAWRENCE, by intimidation, took from the person and presence of                     a bank


employee approximately $20,000 in United States currency belonging to, and in the care, custody,

control, managernent, and possession of Chase Barik,244 W. 144th St., Riverdale, Illinois, the

deposits of which were then insured by the Federal Deposit lnsurance Corporation; in violation               of

Title   18, United States Code, Section      2l 13(a).

          Specifically, on or about June 23,2016, at approximately 3:42 p.m., the defendant entered

the Chase Bank branch located at 244 W. 144fi St., fuverdale, Illinois and approached a bank

onployee under the pretense of conducting a banking transaction. The defendant went into the

bank employee's cubical and presented her with a demand note which read "stay calm, I have a

bomb strapped to me, men from ISIS are holding my kids hostage tlree blocks from here, the timer

is set for 12 minutes, I need $20,000 in        $20s."   The defendant told the bank employee ISIS was

watching her with a camera and had a way to detonate the          bomb.      The defendant then showed the

bank ernployee    a   black device that appeared to be a digital clock or timer hanging around her neck.

In response, the bank manager gave the defendant $20,000 in $20 bills, and the defendant then

exited the    bank. At the time of the robbery, the deposits of Chase Bank were insured by the

Federal Deposit Insurance Cooperation.
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                 b.         With respect to Count Two of the indictment:

          On or about September 9, 2016, at Riverdale, in the Northern District of Illinois, Eastern

Division, DINIKA LAWRENCE, by intimidatiorl took from t}re person and presence of a bank

ernployee approximately $66,000 in United States currency belonging to, and in the care, custody,

control, management, and possession of Chase BaurJr.,244 W. 144th St., Riverdale, Illinois, the

deposits of which were then insured by the Federal Deposit lnsurance Corporation; in violation      of
Title   18, United States Code, Section    2l 13(a).

          Specifically, on or about September 9, 2016, the defendant entered the Chase Bank branch

located at 244 W. 144th St., Riverdale, Illinois and approached the teller     window.   The defendant

said to the teller,   "I   have a bomb, you have 2 minutes to give me $100,000." In response, the

teller put approximately $66,000 into a plastic bag and placed that plastic bag through the drawer

at the teller window. The defendant said,              "I   don't want any marked money." After being

assured that the money was not marked, the defendant took the bag and left the      bank. At the time
of the robbery, the deposits of        Chase Bank were insured        by the Federal Deposit Insurance

Cooperation.

                 c.         With respect to Count Three of the indichnent:

          On or about March24,2017, at Palos Heights, in the Northem District of Illinois, Eastern

Division, DINIKA LAWRENCE, by intimidation, attempted to take from the person and presence

of a bank ernployee United States crurency belonging to, and in the care, custody, control,

managernent, and possession ofChase Bank, 12657 S. Ridgeland Ave., Palos Heights, Illinois, the

deposits of which were then insured by the Federal Deposit lnsurance Corporation; in violation      of

Title 18, United   States Code, Section 2113(a).
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         Specifically, on or about March 24, 2017, the defendant entered the Chase Bank branch

located at 12657 S. Ridgeland Ave., Palos Heights, Illinois and approached the teller window and

presented the teller with a dernand   note.     The defendant said to the teller, "Give me everytling."

The teller pressed the alarm   button.   The defendant then took the note with her and walked out    of

the bank without receiving any    money. At the time of the robbery, the deposits of Chase Bank

were insured by the Federal Deposit Insurance Cooperation.

Potential Penalties

         6.     a.     Count One carries    a   maximum sentence of 20 years' imprisonment. Count

One also carries a maximum fine of       $250,000. Defendant further understands that with respect

to Count One the judge also may impose a term of supervised release ofnot more thaa three years.

                b.     Count Two carries a maximum sentence              of 20 years'   imprisonment.

Count Two also carries a maximum fine of $250,000. Defendant further understands that with

respect to Count Two, the judge also may impose a term of supervised release          ofnot more than

three years.

                c.     Count Three carries      a   maximum sentence of 20 yems' imprisonment. Count

Three also carries a maximum fine of$250,000. Defendant further understands that with respect

to Count Three the judge also may impose a term of supervised release of not more than three

years.

                d.     Defendant further understands that the Court must order restitution to the

victims of the offense in an amount determined by the Court.

                e.     In accord with Title 18, United States Code, Section 3013, defendant will

be assessed $100 on each count to which she has pled guilty, in addition to any other penalty or

restitution imposed.
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                  f.     Therefore, under the counts to which defendant is pleading guilty, the total

maximum sentence is 60 years' imprisonment. In additioq defendant is subject to a total maximum

fine of$750,000, a period of supervised release, and special assessments totaling $300, in addition

to any restitution ordered by the Court.

Guidelines Calculations

          7   .   Ms. Lawrence understands that the guidelines promulgated by the United States

Sentancing Commission pursuant to 28 U.S.C. $ 994       will apply to her case. Ms. Lawrence is

aware that the government believes that the following guidelines might apply to her       case: At

this time, Ms. Lawrence does not take a position regarding what guidelines may apply to her

u|.se.


                  a.     It is Ms. Lawrence's belief at this time that the government will allege at

sentencing that all three counts in this case group and the anticipated combined base offense

level for the counts will be 28.

                  b.     It is Ms. Lawrence's position that she has accepted responsibility for her

actions and that she has done so in a timely manner. Therefore, it is the defendant's position

that a three-level reduction is appropriate under g3El.1(a) & (b).

                  c.     Ms. Lawrence believes that she is likely in a criminal history category I.

                  d.     An adjusted offense level 25 coupled with   a   criminal history category I

resuits in a possible guideline range of57 to 71 months' custody.

          8.      Ms. Lawrence understands that the Court and the Probation Office will conduct

their own investigation and that the Court ultimately determines the facts and law relevant to

sentencing and that the Court's determinations govern the final Sentencing Guidelines

calculations.
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Trial Rights and Appellate Riehts

       9.        Ms. Lawrence understands that by pleading guilty she surrenders certain rights,

including the following:

               a.       lf defendant persisted in a plea ofnot guilty to the charge                   against her, she

would have the right to a public and speedy          trial.   The trial could be either        a   jury trial or a trial

by the judge sitting without      a   jury.   The defendant has a right to    a   jury   trial.      However, in order

that the trial be conducted by the judge sitting without ajury, the defendant, the government and

thejudge all must agree that the trial be conducted by the judge without                 a   jury.

               b.       Ifthe rial is ajury trial, thejury would be composed of twelve laypersons

selected at   random. Defendant         and her attomeys would have a say in who the jurors would be

by rernoving prospective jurors for cause where actual bias or other disqualification is shown, or

without cause by exercising so-called perernptory challenges. The jury would have to agree

unanimously before it could return a verdict of either guilty or not              guilty.     The    jury would be

instructed that defendant is presumed innocent and that it could not convict her unless, after

hearing all the evidence, it was persuaded ofher guilt beyond a reasonable doubt.

               c.       If   the trial is held by the judge without     a   jury, the judge would find the

facts and detennine, after heming all the evidence, whether or not he was persuaded                        of

defendant's guilt beyond a reasonable doubt.

               d.       At    a   trial, whether by a jury or a judge, the government would be required

to present its witnesses and other evidence against           defendant. Defendant would be able to

confront those govemment witnesses and her attomeys would be able to cross examine them.

In tum, defendant could present witnesses and other evidence in her own                      behalf.     She would be

under no obligation to do so, however, because she is presumed to be itulocent and thus need not
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prove her innocence. Ifthe witnesses for defendant would not appear voluntarily, she couid

require their attendance through the subpoena power ofthe court.

               e.      At   a   trial, defendant would have a privilege against self-incrimination so

that she could decline to testifu, and no inference of guilt could be drawn from her refusal to

testifr. If defendant desired to do so, she could     testifu in her own behalf.

        10.     Ms. Lawrence understands that by pleading guilty she is waiving all the rights set

forth in the prior paragraph. By pleading guiity Ms. Lawrenee admits she is guilty and agrees

that she should be found    guilty.   Ms. Lawrence's attomeys have explained those rights to her,

and the consequences of her waiver ofthose       rights.   Ms. Lawrence further understands that she

is waiving all appellate issues that might have been available    if   she had exercised her right to

trial and only may appeal the validity of this plea ofguilty, the ineffective assistance of counsel,

or the sentence.

Limitations and Consequences of this Plea Declaration

        11.     Ms. Lawrence understands that the United States Attomey's Office will inform

the District Court and the United States Probation O{fice of the nature, scope, and extent ofher

conduct regarding these charges and related matters, including all matters in aggravation and

mitigation relevant to the issue of sentencing. Ms. Lawrence frrther understands that she will

be able to present evidence in mitigation for sentencing.

        12.     Ms. Lawrence understands that at the time of sentencing, the governmant and the

defendant will be free to make their respective recommendations to the Court as they dean

appropriate.
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        13.     Ms. Lawrence understands that the sentencing guidelines are no longer

mandatory, and that this Court's decision as to what sentence constitutes a sentence "sufficient,

but not greater than necessary" to comply with the purposes set forth in l8 U.S.C. $ 3553(a) may

result in a sentence either vrithin, greater, or less than the applicable sentencing guideline range.

Ms. Lawrence understands that the applicable sentencing guideline range is one factor which this

Court is required to take into consideration under 18 U.S.C. $ 3553(a)(4), along with the other

required factors under $ 3553(a).

        14.     Should this Court refuse to accept Ms. Lawrence's piea of guilty, this Plea

Declaration shall become null and void, and defendant will not be bound      thereto. It is the

defendant's position that, should the Court decline to accept her plea, this Plea Declaration and

the ensuing court proceedings are inadmissible in later court proceedings pursuant to Federal

Rule of Evidence 410.

        15.     Ms. Lawrence agrees that this Plea Declaration shall be filed and become part     of
the record   ofthe   case.
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       16.     Ms. Lawrence and her attorneys acknowledge that no    thLreats,   promises, or

rqrresentations have been made, nor agreements reached, to induce her to plead guilty all of the

Counts contained in the indictrnent. Ms. Lawrence furtho acknowledges that she has read this

Plea Declaration and carefully reviewed each provision with her attomeys.

                                     sigrr"dthi,    4h       dayofApril,2ol8



                                             Dinika LariEnc}, Defendant

                                             FEDERAL DEFENDER PROGRAM
                                             Carol A. Brook,




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